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   1                                     PROOF OF SERVICE
   2   U.S. DISTRICT COURT FOR THE CENTRAL DISTRICT OF CALIFORNIA
   3          I am employed in the County of Los Angeles, State of California; I am over the
       age of 18 and not a party to the within action; my business address is 515 S. Flower
   4   Street, 36th Floor, Los Angeles, California 90071.
   5
              On May 22, 2018, I served the foregoing document(s) described as JOINT
   6   STIPULATION FOR DISMISSAL OF FIRST AMENDED COMPLAINT
       WITH PREJUDICE PURSUANT TO FRCP 41(A)(1)(A)(II) on the interested
   7   parties to this action by delivering a copy thereof in a sealed envelope addressed to
   8
       each of said interested parties at the following address(es): SEE ATTACHED LIST

   9         (BY MAIL) I am readily familiar with the business practice for collection and
       processing of correspondence for mailing with the United States Postal Service. This
  10   correspondence shall be deposited with the United States Postal Service this same day in the
       ordinary course of business at our Firm’s office address in Los Angeles, California. Service
  11   made pursuant to this paragraph, upon motion of a party served, shall be presumed invalid if
  12   the postal cancellation date of postage meter date on the envelope is more than one day after
       the date of deposit for mailing contained in this affidavit.
  13
              (BY ELECTRONIC SERVICE) by causing the foregoing document(s) to be
  14   electronically filed using the Court’s Electronic Filing System which constitutes service of
       the filed document(s) on the individual(s) listed on the attached mailing list.
  15

  16         (BY E-MAIL SERVICE) I caused such document to be delivered electronically via
       e-mail to the e-mail address of the addressee(s) set forth in the attached service list.
  17
              (BY OVERNIGHT DELIVERY) I served the foregoing document by FedEx, an
  18   express service carrier which provides overnight delivery, as follows: I placed true copies of
  19   the foregoing document in sealed envelopes or packages designated by the express service
       carrier, addressed to each interested party as set forth above, with fees for overnight delivery
  20   paid or provided for.
  21         (BY PERSONAL SERVICE) I caused such envelope to be delivered by hand to the
       offices of the above named addressee(s).
  22

  23         (Federal) I declare that I am employed in the office of a member of the bar or this
       court at whose direction the service was made. I declare under penalty of perjury that the
  24   above is true and correct.
  25          Executed on May 22, 2018, at Los Angeles, California.
  26

  27
                                                          Kristapor Vartanian
  28

                                                     19
         DEF. TWCI’S SECOND AM. NOT. OF DEPO. OF JAMES POET; REQ. FOR PRODUCTION OF DOCS.; ETC
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   1                                      SERVICE LIST
   2   James Poet
   3
       501 West Glenoaks Blvd., #727
       Glendale, California 91202
   4   eadness1@yahoo.com
   5
       Plaintiff, Pro Se
   6

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                                                  20
         DEF. TWCI’S SECOND AM. NOT. OF DEPO. OF JAMES POET; REQ. FOR PRODUCTION OF DOCS.; ETC
